AO 245B               Case
              (Rev. 09/08)     5:17-cr-00540
                           Judgment in a Criminal Case   Document 611 Filed on 05/10/18 in TXSD Page 1 of 5
              Sheet 1                                                                                                 United States District Court
                                                                                                                        Southern District of Texas

                                           UNITED STATES DISTRICT COURT                                                     ENTERED
                                                           Southern District of Texas                                       May 11, 2018
                                                              Holding Session in Laredo                                 David J. Bradley, Clerk

            UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                            V.
                    JOSEPH GRAVES JR.
                                                                          CASE NUMBER: 5:17CR00540-S-005
                                                                          USM NUMBER: 27439-479

 See Additional Aliases.                                                 Luis Antonio Figueroa
                                                                          Defendant's Attorney
THE DEFENDANT:
 pleaded guilty to count(s) two of the Superseding Indictment on October 30, 2017
 pleaded nolo contendere to count(s)
    which was accepted by the court.
 was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:

Title & Section               Nature of Offense                                                            Offense Ended                Count
8 U.S.C. §§                   Transport an undocumented alien within the United States for the purpose     06/23/2017                   Two
1324(a)(1)(A)(ii),            of commercial advantage and private financial gain by menas of
1324(a)(1)(A)(v)(II)          transportation or otherwise
and 1324(a)(1)(B)(i)


   See Additional Counts of Conviction.

    The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

 The defendant has been found not guilty on count(s)

 Count(s) 1s, 3s, 4s, 5s, 6s, 7s, 8s, and 9s                    is  are dismissed on the motion of the United States.
     It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.




                                                                          May 3, 2018
                                                                          Date of Imposition of Judgment


                                                                          ReservedForJudgeSignature
                                                                          Signature of Judge

                                                                          KEITH P. ELLISON
                                                                          UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge

                                                                          ReservedForSignDate
                                                                          May 10, 2018
                                                                          Date
                                                                                                                                            RC       |   GW
AO 245B               Case
              (Rev. 09/08)      5:17-cr-00540
                           Judgment in a Criminal Case   Document 611 Filed on 05/10/18 in TXSD Page 2 of 5
              Sheet 2 -- Imprisonment
                                                                                                                      Judgment -- Page 2 of 5
DEFENDANT: JOSEPH GRAVES JR.
CASE NUMBER: 5:17CR00540-S-005

                                                              IMPRISONMENT

    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 12 months and 1 day
The defendant waived the right to appeal the sentence.

   See Additional Imprisonment Terms.

 The court makes the following recommendations to the Bureau of Prisons:

 The defendant is remanded to the custody of the United States Marshal.

 The defendant shall surrender to the United States Marshal for this district:
   at                   a.m.  p.m. on                            .
   as notified by the United States Marshal.
 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
   before 2 p.m. on                                                .
   as notified by the United States Marshal.
   as notified by the Probation or Pretrial Services Office.


                                                                   RETURN

I have executed this judgment as follows:




    Defendant delivered on _______________________________ to ___________________________________

at ______________________________, with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL

                                                                     By
                                                                                               DEPUTY UNITED STATES MARSHAL
AO 245B                Case
               (Rev. 02/18)      5:17-cr-00540
                            Judgment  in a Criminal Case   Document 611 Filed on 05/10/18 in TXSD Page 3 of 5
               Sheet 3 -- Supervised Release
                                                                                                                                             Judgment -- Page 3 of 5
DEFENDANT: JOSEPH GRAVES JR.
CASE NUMBER: 5:17CR00540-S-005

                                                             SUPERVISED RELEASE
Upon release from imprisonment you will be on supervised release for a term of: 2 years

    See Additional Supervised Release Terms.

                                                           MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
   imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           The above drug testing condition is suspended, based on the court's determination that you
               pose a low risk of future substance abuse. (check if applicable)
4.  You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A
         or any other statute authorizing a sentence of restitution. (check if applicable)
5.  You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.  You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you reside, work,
         are a student, or were convicted of a qualifying offense. (check if applicable)
7.  You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
    See Special Conditions of Supervision.
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.
1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer
     about how and when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment, you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted of
      a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
     require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
     person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.
AO 245B               Case
              (Rev. 09/08)      5:17-cr-00540
                            Judgment in a Criminal Case   Document 611 Filed on 05/10/18 in TXSD Page 4 of 5
              Sheet 5 -- Criminal Monetary Penalities
                                                                                                                              Judgment -- Page 4 of 5
DEFENDANT: JOSEPH GRAVES JR.
CASE NUMBER: 5:17CR00540-S-005

                                               CRIMINAL MONETARY PENALTIES

   The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                  Assessment                           Fine                               Restitution
TOTALS                            $100.00                              $0.00                              $0.00
   The court found that the $5,000 special assessment, listed under 18 U.S.C. § 3014, was not applicable based on the finding of indigency.
   See Additional Terms for Criminal Monetary Penalties.

 The determination of restitution is deferred until                              . An Amended Judgment in a Criminal Case (AO 245C)
    will be entered after such determination.

 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal payees must be paid
    before the United States is paid.

Name of Payee                                                            Total Loss*       Restitution Ordered              Priority or Percentage




   See Additional Restitution Payees.
TOTALS                                                                       $0.00                       $0.00

 Restitution amount ordered pursuant to plea agreement $

 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
    fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
    to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
    the interest requirement is waived for the  fine  restitution.
    the interest requirement for the  fine  restitution is modified as follows:

 Based on the Government's motion, the Court finds that reasonable efforts to collect the special assessment are not likely to be effective.
    Therefore, the assessment is hereby remitted.

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
AO 245B                Case
               (Rev. 09/08)     5:17-cr-00540
                            Judgment   in a Criminal Case   Document 611 Filed on 05/10/18 in TXSD Page 5 of 5
               Sheet 6 -- Schedule of Payments
                                                                                                                                   Judgment -- Page 5 of 5
DEFENDANT: JOSEPH GRAVES JR.
CASE NUMBER: 5:17CR00540-S-005

                                                             SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A  Lump sum payment of $100.00                       due immediately, balance due
        not later than                                  , or
        in accordance with  C,  D,  E, or  F below; or
B  Payment to begin immediately (may be combined with  C,  D, or  F below); or
C  Payment in equal              installments of              over a period of                                      , to commence           days
          after the date of this judgment; or
D    Payment in equal                    installments of                       over a period of                     , to commence           days
          after release from imprisonment to a term of supervision; or
E    Payment during the term of supervised release will commence within                   days after release from imprisonment. The court
          will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F    Special instructions regarding the payment of criminal monetary penalties:
           Payable to: Clerk, U.S. District Court
                       1300 Victoria, Ste. 1131
                       Laredo, TX 78040

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 Joint and Several
Case Number
Defendant and Co-Defendant Names                                                   Joint and Several                Corresponding Payee,
(including defendant number)                                   Total Amount            Amount                        if appropriate




   See Additional Defendants and Co-Defendants Held Joint and Several.

 The defendant shall pay the cost of prosecution.
 The defendant shall pay the following court cost(s):

 The defendant shall forfeit the defendant's interest in the following property to the United States:

   See Additional Forfeited Property.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
